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                          UNITED STATES DISTRICT COURT FOR
                          THE MIDDLE DISTRICT OF OUISIANA

    ALEX A., by and through his guardian, Molly
    Smith; BRIAN B.1; and CHARLES C., by and
    through his guardian, Kenione Rogers,
    individually and on behalf of all others
    similarly situated,
                                                       Civil Action No. 3:22-CV-00573-SDD-RLB
                  Plaintiffs,

    v.

    GOVERNOR JOHN BEL EDWARDS, in his
    official capacity as Governor of Louisiana;
    WILLIAM SOMMERS2, in his official
    capacity as Deputy Secretary of the Office of
    Juvenile Justice, JAMES M. LEBLANC, in his
    official capacity as Secretary of the Louisiana
    Department of Public Safety & Corrections,

                   Defendants.


                                       EXHIBIT 1




1
  On July 14, 2023, pursuant to Rule 25(a)(2) of the Federal Rules of Civil Procedure, Plaintiffs notified
the Court of the death of Brian B. Doc. 162. Plaintiffs leave Brian B. as a Plaintiff until the clerk is
ordered to change the caption.
2
 On November 18, 2022, Gov. Edwards announced the resignation of Dep. Sec. Sommers and the
appointment of Otha “Curtis” Nelson as his replacement.
https://gov.louisiana.gov/index.cfm/newsroom/detail/3892 Because Sommers was sued in his official
capacity, Nelson is automatically substituted as a Defendant. Fed. R. Civ. P. 25(d). Plaintiff leaves
Sommers as a Defendant until the clerk is ordered to change the caption.
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                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA

 ALEX A., by and through his guardian, Molly
 Smith, individually and on behalf of all others
 similarly situated,


                    Plaintiff,

                       v.

 GOVERNOR JOHN BEL EDWARDS, in his                    Civil Action No. 3:22-cv-573-SDD-RLB
 official capacity as Governor of Louisiana;
 WILLIAM SOMMERS, in his official
 capacity as Deputy Secretary of the Office of
 Juvenile Justice, JAMES M. LEBLANC, in
 his official capacity as Secretary of the
 Louisiana Department of Public Safety &
 Corrections,

                  Defendants.

              This is a typewritten version of the attached handwritten Declaration.

                SECOND SUPPLEMENTAL DECLARATION OF DANIEL D.

I, [name redacted], hereby declare the following to be true under penalty of perjury:

   1) I am 16 years old and making this declaration of my own free will. Everything in this

       declaration is true and to the best of my personal knowledge. For this lawsuit, I am going

       by the name Daniel D. (“D.D.”) to protect my privacy.

   2) I originally made a declaration in support of Plaintiffs’ motion to intervene. I am one of

       the proposed intervenors. I affirm the facts set forth in my original declaration and first

       supplemental declaration, and I would competently testify to those facts if called and

       sworn as a witness. I make this declaration as a supplement to my original and first

       supplemental declaration.
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3) I am in the custody of OJJ related to a juvenile delinquency proceeding. OJJ is currently

   holding me in the former death row building at OJJ’s West Feliciana Campus at Angola

   (“Angola”).

4) I came to Angola from Swanson. This is my third time at Angola.

5) OJJ first sent me here in either September or October 2022, OJJ transferred me out in

   January 2023, to OJJ’s Swanson facility, and then transferred me back to Angola in

   March 2023. OJJ then transferred me to Swanson on or around April 27, 2023 before I

   was brought here, back to Angola, on or around June 16, 2023.

6) When I was held in Angola in March and April 2023, I refused one virtual visit with my

   legal counsel in this lawsuit. I was being held in solitary confinement and was frustrated

   and not feeling well. I never refused a second virtual visit with my legal counsel.

7) Being back at Angola makes me feel frustrated.

8) I am currently at B pod.

9) When I first arrived at Angola, I was locked alone in my cell and not let out except to

   shower for three days. (3 days)

10) I am locked alone in my cell every day from 5pm until 8am the next morning.

11) The water in my cell is not drinkable.

12) The food at Angola is horrible. I have only eaten three (3) trays of food since I arrived

   here June 16, 2023. I have to buy commissary food in order to eat.

13) I have seen other children be punished by being left alone in a cell on cell restriction for

   48 hours.

14) I have only been able to call my family once since coming back to Angola. When I was at

   Swanson, I could call my family throughout the day, every day.
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   15) There is no air conditioner on my block. It is extremely hot and the fans don’t always

       work. Sometimes the power goes out and there are no fans.

   16) I am still not receiving substance use treatment. I get that treatment at other juvenile

       facilities.

   17) For school I sit in front of a computer all day. There is only one teacher for all the kids.

   18) There’s no library in this facility like in other facilities.

   19) No one from my family can come visit me here. They often visited me when I was at

       Bridge City. The distance is too far for them to come here.

I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing declaration is

true and accurate.

Executed on the 26th day of June 2023, in Angola, LA.

/s/ Daniel D.
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